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                                                                                 FILED IN CLERK'S OFFICE
                                                                                     U.S.D.C. · Atlanta
                 IN THE UNITED STATES DISTRICT COUR
                FOR THE NORTHERN DISTRICT OF GEORG
                       _ _ _ _ _ _ DIVISION                                        NOV 05 2021


           our full name)
                  Plaintiff pro se,                   CIVIL ACTION FILE NO.


      v.
                                                         (to be assigned by Clerk)




 (Print full name of each defendant; an
 employer is usually the defendant)
                  Defendant(s).


     PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                                Claims and Jurisdiction

1.     This employment discrimination lawsuit is brought under (check only those
       that a~):

           V         Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et
                     ~ for employment discrimination on the basis of race, color,
                     religion, sex, or national origin, or retaliation for exercising rights
                     under this statute.

                            NOTE: To sue under Title VII, you generally must have
                            received a notice of right-to-sue letter from the Equal \ ,--.
                                                                                   1
                            Employment Opportunity Commission ("EEOC"). I..-nf\~ t;

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                   Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                   621 et seg., for employment discrimination against persons age 40
                   and over, or retaliation for exercising rights under this statute.

                         NOTE: To sue under the Age Discrimination in
                         Employment Act, you generally must first file a charge of
                         discrimination with the EEOC.


                   Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                   seg., for employment discrimination on the basis of disability, or
                   retaliation for exercising rights under this statute.

                         NOTE: To sue under the Americans With Disabilities Act,
                         you generally must have received a notice of right-to-sue
                         letter from the EEOC.


                  Other (describe)




2.   This Court has subject matter jurisdiction over this case under the above-listed
     statutes and under 28 U.S.C. §§ 1331 and 1343.




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                                      Parties

3.    Plaintiff.   Print your full name and mailing address below:

      Name         ~f<\(}        /4J6-
      Address



4.    Defendant(s ).     Print below the name and address of each defendant listed



                                           \he
                         on page 1 of this form:

      N.me
      Address
                       ~',N\c)e_
                       \ ~ ~(\&CT'\
                   MCW\\r;tcij, c'5Q3L/a'
                                          ~a•           {\j


      Name
      Address



      Name
      Address



                               Location and Time

5.    If the alleged discriminatory conduct occurred at a location different from the
      address provided for defendant(s), state where that discrimination occurred:




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6.     When did the alleged discrimination occur? (State date or time period)




                            Administrative Procedures

7.     Did you file a charge of discriminv,gainst defendant(s) with the EEOC or
       any other federal agency?           Yes        _ _ No

             If you checked "Yes," attach a copy of the charge to this complaint.


8.     Have you received a Notice of Right-to-Sue letter from the EEOC?

        VYes              _ _ No

             If you checked "Yes," attach a copy of that letter to this complaint and
             state the date on which you received that letter:



9.     If you are suing for age discrimination, check one of the following:

                   60 days or more have elapsed since I filed my charge of age
                   discrimination with the EEOC

                   Less than 60 days have passed since I filed my charge of age
                   discrimination with the EEOC




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10.    If you were employed by an agency of the State of Georgia or unsuccessfully
       sought employment with a State agency, did you file a complaint against
       defendant(s) with the Georgia Commission on Equal Opportunity?

       - - Yes            - - No             _ _ Not applicable, because I was
                                             not an employee of, or applicant with,
                                             a State agency.

             If you checked "Yes," attach a copy of the complaint you filed with the
             Georgia Commission on Equal Opportunity and describe below what
             happened with it (i.e., the complaint was dismissed, there was a hearing
             before a special master, or there was an appeal to Superior Court):




11.    If you were employed by a Federal agency or unsuccessfully sought
       employment with a Federal agency, did you complete the administrative
       process established by that agency for persons alleging denial of equal
       employment opportunity?

                                             _ _ Not applicable, because I was
       - - Yes            - - No
                                             not an employee of, or applicant with,
                                             a Federal agency.

             If you checked "Yes," describe below what happened m that
             administrative process:




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                                Nature of the Case

12.    The conduct complained about in this lawsuit involves (check only those that
       apply):

                   failure to hire me
                   failure to promote me
                   demotion
                   reduction in my wages
                   working under terms and conditions of employment that differed
                   from similarly situated employees
                   harassment
                   retaliation
                   termination ofmy employment
                   failure to accommodate my disability
                   other (please specify) _ _ _ _ _ _ _ _ _ _ _ _ __



13.    I believe that I was discriminated against because of(check only those that
       apply):

                   my race or color, which is _ _ _ _ _ _ _ _ _ _ _ __
                   my religion, which is _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   my sex (gender), which is              male       female
                   my national origin, which is _ _ _ _ _ _ _ _ _ _ _ __
                   my age (my date of birth is _ _ _ _ _ _ _ _ _ _ ___,
                   my disability or perceived disability, which is:


                   my opposition to a practice ofmy employer that I believe violated
                   the federal anti-discrimination laws or my participation in an
                   EEOC investigation

                   other (please specify) _ _ _ _ _ _ _ _ _ _ _ _ __




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14.         Write below, as clearly as possible, the essential facts of your claim(s).
            Describe specifically the conduct that you believe was discriminatory or
            retaliatory and how each defendant was involved. Include any facts which
            show that the actions you are complaining about were discriminatory or
            retaliatory. Talce time to organize your statements; you may use numbered
            paragraphs if you find that helpful. Do not make legal arguments or cite cases
            or statu
             -.




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15.   Plaintiff                 still works for defendant(s)
                                no longer works for defendant(s) or was not hired


16.   If this is a disability-related claim, did defendant(s) deny a request for
      reasonable accommodation? _ _ Yes                 _ _ No

            If you checked "Yes," please explain: _ _ _ _ _ _ _ _ _ _ __




17.   If your case goes to trial, it will be heard by a judge unless you elect a jury
      trial. Do you request a jury trial?      _ _ Yes _ _ No


                                Request for Relief

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief (check any that apply):

                   Defendant(s) be directed to _ _ _ _ _ _ _ _ _ _ _ __


                   Money damages (list amounts)      :I{ 2 ffi\\ \ tC)f\   drtlcu:&-,
                   Costs and fees involved in litigating this case


                   Such other relief as my be appropriate




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           PLEASE READ BEFORE SIGNING THIS COMPLAINT

Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions of Rule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant(s). Finally, ifthe defendant(s) is the prevailing party in this
lawsuit, costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


             Signed, this   DL\    day of    No~lee_,,                    , 20   2\


                                        (                         rose)

                                             ~±V'{\(A, --fu~t£-
                                        (Printedn     ~of plaintiff prose)

                                            \2C)\ Wdo\L lxt't~ C){l,
                                        (street address)




                                        (telephone number)




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 EEOC Form 161-B (1112020)                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE                 (ISSUED ON REQUEST)
To:    Keyma Towles                                                                   From:     Atlanta District Office
       1201 Nobel Creek Drive                                                                   100 Alabama Street, S.W.
       Atlanta, GA 30327                                                                        Suite 4R30
                                                                                                Atlanta, GA 30303




      D           On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7/a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.

                                                         Trey Pyle,
 410-2020-07194                                          Senior Federal Investigator                                   (404) 562-6831
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Tille VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

      [Kl         More than 180 days have passed since the filing of this charge.

      D           Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
      [Kl        The EEbC is terminating its processing of this charge.

      D          The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
      D          The EEOC is c[osing your case. Therefore, your lawsuit under the ADEA must be filed in federal or stale court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


      D          The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

lf you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission
                                                                                                ;\Digitally signed by Derick Newton
                                              Derick Newton                                    ' Date: 2021,08.16 12:13:38 -04'00'
                                                                          For
 Enclosures(s)                                                                                                               (Date Issued)
                                                                       Darrell E. Graham,
                                                                        District Director

cc:           Cynthia Gisi                                                            Martoccio, Gary
              HR Director                                                             4890 W. Kennedy Blvd.
              NORTHSIDE HOSPITAL                                                      Suite 950
              1000 Johnson Ferry Rd.                                                  Tampa, FL 33609
              Atlanta, GA 30342
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Enclosures(s)


cc:
       Chiaka Adele

       900 Circle 75 Pkwy
       Ste 850
       Atlanta, GA 30339
